      Case 2:16-cr-20222-AJT-RSW ECF No. 453, PageID.4091 Filed 12/30/20 Page 1 of 4

PROB 12C-2                                                                                                  PACTS          DATE
(Rev. 08/18)     VIOLATION REPORT Emergency                                  U. S. Probation Office
                                                                             Eastern District of Michigan   2280723        12/28/2020
                 Warrant Request
NAME                                                    OFFICER                       JUDGE                         DOCKET #
HOWARD, Ramel Levertis                                  Natalie Karpac                Arthur J. Tarnow              16-CR-20222-02

ORIGINAL              SUPERVISION TYPE   CRIMINAL HISTORY     TOTAL OFFENSE LEVEL     PHOTO
SENTENCE DATE                            CATEGORY
06/04/2018            Supervised                              31
                                         II
                      Release
COMMENCED
05/22/2020

EXPIRATION

05/21/2024

ASST. U.S. ATTORNEY                      DEFENDANT ATTORNEY

Aldous Brant Cook                        To be determined
Eric Doeh
Julie A. Beck
REPORT PURPOSE

    EMERGENCY JUDICIAL RESPONSE REQUESTED

ORIGINAL OFFENSE

Count 1s: 21 U.S.C. § 846 and 21 U.S.C. § 841(a)(1), Conspiracy
to Distribute and Possess With Intent to Distribute Heroin
Count 5s: 18 U.S.C. § 1956(a)(1)(A)(i), Conspiracy to Launder
Monetary Instruments
SENTENCE DISPOSITION

Custody of the Bureau of Prisons for a term of 60 months on each count (to be served concurrently), to be
followed by a four-year term of supervised release on each count (to be served concurrently).

May 22, 2020: Order Granting Petitioner’s Motion for Compassionate Release. Immediate release ordered with
addition of Special Condition of Home Confinement. All other conditions of the original judgment remain in full force
and effect.

ORIGINAL SPECIAL CONDITIONS

      1. Mandatory drug treatment is ordered.
      2. The defendant shall participate in a program by the probation department for substance abuse, which
         may include testing to determine if the defendant has reverted to the use of drugs or alcohol, if necessary.
      3. You will be monitored by the form of Radio Frequency (RF) Monitoring for a period of up to 365 days
         consecutive days, and you must follow the rules and regulations of the location monitoring program.
         You are restricted to your residence every day from 8:00 p.m. to 7:00 a.m.
               Criminal Monetary Penalties:          Special Assessment $200.00 (paid), Fine $15,000.00 (balance
               $13,625.00).

                                                              Page 1 of 4
      Case 2:16-cr-20222-AJT-RSW ECF No. 453, PageID.4092 Filed 12/30/20 Page 2 of 4

PROB 12C-2                                                                                             PACTS          DATE
(Rev. 08/18)       VIOLATION REPORT Emergency                           U. S. Probation Office
                                                                        Eastern District of Michigan   2280723        12/28/2020
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HOWARD, Ramel Levertis                                Natalie Karpac             Arthur J. Tarnow              16-CR-20222-02

The probation officer believes that the offender has violated the following conditions of Supervised Release:

[ x ] New Criminal Charges                                        [ x ] Violent Conduct

[ ] Whereabouts Unknown (Absconder)                               [ ] Other

VIOLATION NUMBER         NATURE OF NONCOMPLIANCE



               1         Violation of Mandatory Condition: “YOU MUST NOT COMMIT ANOTHER FEDERAL,
                         STATE OR LOCAL CRIME.”

                         On December 28, 2020, HOWARD was arrested by Canton (Michigan) police and charged
                         with Stalking. The following information is taken from the Canton (Michigan) police report
                         and this writer’s direct interview with the victim: The victim reports that HOWARD has called
                         her with threats multiple times since his release from prison; however, his harassing behavior
                         escalated after his tether was removed on December 9, 2020. She indicates that the person
                         under supervision particularly calls her when he is intoxicated and threatens her over what he
                         believes is property (and/or money) that is owed to him.

                         The victim alleges that on December 28, 2020, the person under supervision tried calling her
                         numerous times from a blocked number starting at 12:05 a.m. At approximately 12:15 a.m.,
                         she heard someone banging on the door of her residence in Canton, Michigan. She looked out
                         of her bedroom window and observed a red Ford Focus in front of her house with the driver’s
                         side door open. She recognized the vehicle as belonging to HOWARD and did not answer the
                         door because she was in fear for her life. (Police later verified HOWARD’s presence at the
                         residence via video from the victim’s Ring doorbell system.)

                         HOWARD eventually left the residence and the victim began to receive more calls from the
                         blocked number. She answered one of the calls and recorded the conversation. The victim
                         shared this recording with Canton (Michigan) police and the probation department. In the
                         recording, the victim can be heard speaking to a male voice. Throughout the dialogue, the
                         male voice states: “I am going to kill you… You don't pay your money, but you owe me this,
                         I'll kill you right now.... If you say one more thing bitch, I'll tear your ass up... Bitch I'm tired
                         of you. Pay my money.... That's how I live, bitch. I'm on some gangster shit. I've got money
                         on your head right now. Bitch stop playing with me. Everybody in there's gonna get it, bitch.
                         I'm on some gangster shit now.... I told you to turn all my shit over. I don't play games with
                         nobody who robbed me. You robbed me. Bitch, that's what I'm on. And I got niggers outside
                         right now. Now, I'm not playing with you, hoe.”




                                                          Page 2 of 4
      Case 2:16-cr-20222-AJT-RSW ECF No. 453, PageID.4093 Filed 12/30/20 Page 3 of 4

PROB 12C-2                                                                                                                PACTS          DATE
(Rev. 08/18)       VIOLATION REPORT Emergency                                              U. S. Probation Office
                                                                                           Eastern District of Michigan   2280723        12/28/2020
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HOWARD, Ramel Levertis                                                Natalie Karpac                Arthur J. Tarnow              16-CR-20222-02

                            The victim called Canton (Michigan) police to file a report. She explained to both this writer
                            and police that she is in fear for her life when the person under supervision has been drinking.
                            Additionally, she reports that her cousin, Ronald Segars, who is also HOWARD’s codefendant
                            in the original offense, recently tried to kill his girlfriend and her mother over a similar
                            property dispute and she is afraid that the same thing will happen to her.


               2            Violation of Mandatory Condition: “YOU MUST NOT COMMIT ANOTHER FEDERAL,
                            STATE OR LOCAL CRIME.”

                            On December 28, 2020, HOWARD was arrested by Canton (Michigan) police and charged
                            with Operating While Impaired 3rd. According to the Canton (Michigan) police report, on
                            December 28, 2020, at approximately 2:40 a.m., officers were on patrol in the area of Ford
                            Road and Haggerty Road in Canton, Michigan, when they observed a red Ford Focus driving
                            northbound on Haggerty Road without the headlights of the vehicle turned on. A traffic stop
                            was initiated and the officers were advised by dispatch that the suspect vehicle matched the
                            description from a “threats to kill” call from earlier that night (See Violation Number 1 for
                            corresponding details).

                            Once the vehicle came to a complete stop at a gas station, HOWARD opened the driver’s side
                            door and exited the vehicle. The person under supervision was generally noncompliant with
                            police during the traffic stop (failed to follow commands, resisted arrest, refused field sobriety
                            tests), but was ultimately arrested and taken into custody. A Search Warrant for blood sample
                            was signed by 35th District Court (Canton, Michigan) and the person under supervision was
                            transported to Beaumont Hospital (Canton, Michigan) for a blood draw at approximately 4:32
                            a.m. He has been convicted of Operating While Impaired on three prior occasions.
I declare under penalty of perjury that the foregoing is true and correct.           DISTRIBUTION
PROBATION OFFICER
                                                                                     Court
Natalie Karpac/ljc
313-234-5440
SUPERVISING PROBATION OFFICER                                                        PROBATION ROUTING


Ann R. Smith                                                                         Data Entry
734-741-2076

RECOMMENDING TO THE COURT
[ ]            To Issue a Warrant


                               Superseding Violation Report will follow

                                                                             Page 3 of 4
      Case 2:16-cr-20222-AJT-RSW ECF No. 453, PageID.4094 Filed 12/30/20 Page 4 of 4

PROB 12C-2                                                                                             PACTS          DATE
(Rev. 08/18)     VIOLATION REPORT Emergency                             U. S. Probation Office
                                                                        Eastern District of Michigan   2280723        12/28/2020
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HOWARD, Ramel Levertis                               Natalie Karpac              Arthur J. Tarnow              16-CR-20222-02


THE COURT ORDERS:

[ ]            The Issuance of a Warrant to be Lodged as a Detainer.

[X ]    Other - Inpatient or intensive alcohol treatment program within 35 days. Failure to enter a program will result
in a summons being issued.



                                                                       s/Arthur J. Tarnow
                                                                       United States District Judge

                                                                       12/30/2020
                                                                       Date




                                                         Page 4 of 4
